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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


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